United States District Court
Northem District of California

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TO: Willard Phillip McCrone

You are enrolled as a member of the bar of the Northern District of California. Notice has been
received by the Chief` Judge of the United States District Court for the Northem District of California that
your status as a member of the State Bar of California has been modified as follows:

Placed on Inactive status by the State Bar of Califomia effective 7/30/15.

Effective the date of this order, your membership in the bar of this Court is suspended on an interim
basis pursuant to Civil Local Rule l 1-7(b)(1). On or before September 30, 2015, you may file a response
to this Order meeting the requirements of Civil Local Rule 11-7(b)(2), which may be viewed on the Court’s
website at cand.uscourts.gov. If you fail to file a timely and adequate response to this Order, you will be
suspended from membership without further notice.

If you are disbarred, suspended or placed on disciplinary probation by this Court and are later restored
to active membership in the State Bar of California, you may apply for reinstatement pursuant to Civil
Local Rule l 1-7(b)(3). The Clerk shall close this file on or after September 30, 2015 absent further order of
this Court.

IT IS SO ORDERED.

Dated: 8/25/2015

 

JAMES D i<flxro
United St es District Judge

 

